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                           UN ITED STA TES DISTRIC T C O UR T
                           SOUTHERN DISTRICT O F FLO RIDA
                       CaseNo.17-22835-ClV-GAYLES/OTAZO-REYES
  KATLIN G.CABRERA FLORES
  and allotherssimilarly situated
  under29U.S.C.216(b),
         Plaintiff,



  N .H.Inc.,a/k/aM eridian Food M arket/
  M oney Gram ,M OH A M M ED H O SSA IN ,
  andJASM INE HOSSAIN,

         Defendants.


                           O RDER ON SH OW CAUSE H EARING

         THIS CAUSE cam ebefore the Courtfora Show CauseHearing re Discovery Procedures

  on January 4,20l8. ln accordance with theundersigned'srulingsatthe Show Cause Hearing,it

  is

        ORDERED AND ADJUDGED thatthepartiesshallagreeon adate forthe deposition of

  DefendantM ohamm ed Hossain to take place on or afterFebruary 15,2018. Additionally,the

  partiesshallcooperateon establishing datesforany remaining depositionspriorto the discovery

  deadline of April20,2018. Given the foregoing rulings,Defendants N .H .lnc.,M ohammed

  Hossain and Jasmine Hossain's Verified M otion forProtective Order (D.E.53Jand Plaintiff
  Katlin G.CabreraFlores'M otion to StrikeDefendants'M otion forProtectiveOrder(D.E.54j
  are DEN IED A S M O O T. Counsel are strongly adm onished that should they persist in their

  presentpattern ofconductwith respectto the handling of discovery in this case,they willbe

  referred to the Court'sPeerReview Committeeforappropriate action.
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       DONE AND ORDERED in Cham bersatM iami,Florida,this    dayofJanuary,2018.

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                                        A LICIA M .O TA ZO -REYE
                                        UNITED STATES M AGISTRATE JUDGE

       United StatesDistrictJudgeDarrin P.Gayles
       CounselofRecord




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